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            In the United States Court of Federal Claims
                                   No. 08-321 T

                               (Filed March 5, 2010)

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WASHINGTON MUTUAL, INC., *
as successor in interest of *
H. F. AHMANSON & CO. and    *
SUBSIDIARIES, et al.,       *
                            *
      Plaintiffs,           *
                            *
             v.             *
                            *
THE UNITED STATES,          *
                            *
      Defendant.            *
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                                     ORDER

      On March 4, 2010, plaintiffs filed a Motion to Extend Discovery Period.
Therein, plaintiffs request an unopposed thirty day extension for discovery related
to Count Two of the complaint, to and including June 30, 2010. Accordingly, it is
hereby ORDERED that the parties shall COMPLETE all discovery related to
Count Two on or before June 30, 2010, and that the parties shall FILE a Joint
Status Report on Count Two, on or before July 15, 2010, or thirty days after the
completion of discovery, whichever is earlier, proposing a filing schedule for any
dispositive motions; informing the court as to whether settlement is feasible and/or
any other information which is pertinent with respect to further proceedings
leading to the resolution of Count Two in this matter.


                                                    s/Lynn J. Bush
                                                    LYNN J. BUSH
                                                    Judge
